Case 3:17-cv-00072-NKM-JCH Document 1344 Filed 10/27/21 Page 1 of 5 Pageid#: 22253




                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF VIRGINIA
                               CHARLOTTESVILLE DIVISION


     ELIZABETH SINES, et al.,
                                    Plaintiffs,             CASE NO. 3:17-cv-72

     v.
                                                            ORDER
     JASON KESSLER, et al.,
                                    Defendants.
                                                            JUDGE NORMAN K. MOON


               Order Denying Defendant Cantwell’s Untimely Dispositive Motions
                           at Dkt. 1066, 1077, 1090, 1121, and 1123

          Before the Court are several motions filed by Defendant Cantwell that are in essence, if

   not in stylization, dispositive: Dkt. 1066, 1077, 1090, 1121, and 1123. Because they are

   untimely, the Court will deny them.

          The Court’s deadline for filing dispositive motions, Aug. 7, 2020, has long passed.

   Dkt. 597. There is no question that Cantwell was aware of that deadline. The Court’s initial

   pretrial scheduling order that set that deadline, Dkt. 597, was docketed in November 2019.

   Cantwell was arrested in January 2020, and thereafter had trouble obtaining certain documents

   related to his case, but Cantwell has acknowledged that he only had trouble receiving documents

   filed after his incarceration. Dkt. 664 at 2 (letter from Cantwell docketed on February 14, 2020).

   Indeed, in a motion written December 27, 2019 and docketed January 6, 2020 (in between the

   day that the Court issued the pretrial scheduling order and the day that Cantwell was arrested),

   Cantwell moved the Court for an extension of time to file sanctions against Defendant Kline—

   clearly indicating that he was aware of the Court’s deadlines. Dkt. 614.

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Case 3:17-cv-00072-NKM-JCH Document 1344 Filed 10/27/21 Page 2 of 5 Pageid#: 22254




          And although the Court granted the parties several extensions on deadlines for other

   kinds of motions due to the multiple delays in this case, the Court never extended the deadline

   for dispositive motions. Dkt. 874. In September 2020, the Court ordered that “[a]ny party

   seeking to extend an expired deadline shall, within fourteen (14) days of this Order, file a motion

   showing the party failed to act because of excusable neglect and there is good cause to extend the

   time previously allowed.” Id. at 1. The Court’s Order was mailed and emailed to all parties

   acting pro se, Cantwell included. See Dkt. 874 (docket entry). Cantwell never filed a request for

   an extension of the deadline to file dispositive motions. This is in spite of the fact that Cantwell

   was aware of the opportunity to file a motion to extend the deadline for dispositive motions. At a

   hearing before this Court on September 14, 2020, Defendants Heimbach and Spencer mentioned

   that they had filed or planned to file untimely motions for summary judgment. Dkt. 881 at 22–

   23. Cantwell was present at the hearing and participated in the discussion about extending the

   deadline for dispositive motions. Id. at 23. The Court noted that the motions had been referred to

   Magistrate Judge Hoppe and that it would be within Judge Hoppe’s discretion whether to grant

   an extension on the deadline. Id. at 23-24. Thus, Cantwell understood the deadline for dispositive

   motions had passed by that time, and that he had the opportunity to move Judge Hoppe to extend

   the deadline, yet he never acted on Judge Hoppe’s Order.

          Cantwell has styled these motions as motions in limine. But a motion in limine is not a

   disguise for a dispositive motion. A motion in limine is “any motion, whether made before or

   during trial, to exclude anticipated prejudicial evidence before the evidence is actually offered.”

   Luce v. United States, 469 U.S. 38, 40 n.2 (1984). “[A] motion in limine is not intended to be a

   dispositive motion,” Goodman v. Praxair Services, Inc., No. 04-cv-391, 2009 WL 10681955, at


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Case 3:17-cv-00072-NKM-JCH Document 1344 Filed 10/27/21 Page 3 of 5 Pageid#: 22255




   *1 (D. Md. June 16, 2009). Accordingly, when a motion in limine “is a mislabeled motion for

   partial summary judgment” that has been “filed long after the time for filing such motions

   expired,” the Court must “strip the motion of its creative labeling and re-characterize it to

   conform to its true nature.” Id.; see also Monsanto Co. v. Bayer Bioscience N.V., 2005 WL

   5989796 (E.D. Mo. 2005) (“This Court holds that Monsanto's motion in limine is truly a motion

   for partial summary judgment, and thus, is untimely and will not be addressed by the Court.”);

   Witness Systems, Inc. v. Nice Systems, Inc., 2008 WL 2047633 at *1 (N.D. Ga. May 10, 2008)

   (“Defendants should have raised [the dispositive issue] in a properly supported motion for

   summary judgment rather than in a motion in limine on the eve of trial.”).

          First, Cantwell moves the Court for a determination that “Animus Against the Domestic

   Terror Organization [Antifa] And Other Members of the Woke Progressive Left Is Not A Form

   of ‘Class Based Invidiously Discriminatory Animus’” prohibited by 42 U.S.C. 1985(3). Dkt.

   1066 at 1. This motion strikes at the heart of Plaintiffs’ § 1985 claim, and Cantwell’s requested

   relief is indistinguishable from the form of relief that the Court would grant in a partial summary

   judgment order—narrowing or fixing the issues to be tried. See Banque Hypothecaire Du Canton

   De Geneve v. Union Mines, Inc., 652 F. Supp. 1400, 1401 (D. Md. 1987). Therefore, it is in

   essence a dispositive motion and untimely. The Court will deny it.

          Second, Cantwell moves the Court—again, in a motion styled as a motion in limine—to

   hold that “Simple Assault, Simple Battery, And/Or, Any Other Act Incapable of Causing Bodily

   Harm But Involving The Use of Force is Not a ‘Badge or Incident of Slavery’” Proscribed by US

   Const Amend XIII.” Dkt. 1077 at 1. Cantwell argues that this should limit or eliminate Plaintiffs’




                                                     3
Case 3:17-cv-00072-NKM-JCH Document 1344 Filed 10/27/21 Page 4 of 5 Pageid#: 22256




   § 1985 claim. Id. at 3. Because it would narrow or eliminate one of Plaintiffs’ causes of action, it

   is also a dispositive motion, and is untimely.

          Third, Cantwell moves the Court to hold that Plaintiffs’ claims arose “ex turpi causa” and

   thus that they are barred “in pari delicto.” Dkt. 1090. In other words, Cantwell seeks to prevent

   Plaintiffs from presenting any of their claims because, he alleges, Plaintiffs’ causes of action

   arose in part from their own “immoral or illegal acts.” Id. at 1. Were the Court to grant

   Cantwell’s motion, it would eliminate at least one of Plaintiffs’ causes of action, so it is plainly

   dispositive and thus untimely.

          Fourth, Cantwell moves the Court to exclude “the proposed expert testimony and all

   testimony regarding Cantwell’s or others[’] prior statements, whether on Discord or anywhere

   else.” Dkt. 1121 at 10. Again, although styled as a motion in limine, Cantwell’s motion is

   dispositive—it moves the Court to rule as a matter of law that Plaintiffs’ conspiracy claim fails.

   He asks that the Court bar Plaintiffs “from arguing or presenting evidence in favor of” their

   conspiracy claim at trial. Dkt. 1121 at 2. Therefore, the Court will deny it.

          Fifth, for similar reasons, the Court will deny his motion at Dkt. 1123. In that motion, he

   asks the Court to determine “Whether Plaintiffs Have Pled A Valid Claim for Conspiracy to

   Commit False Imprisonment.” Dkt. 1123 at 1. That is a facially dispositive request. As such, the

   Court will also deny it as untimely.

          In short, the Court DENIES Defendant Cantwell’s motions at Dkt. 1066, 1077, 1090,

   1121, and 1123.

          The Clerk of Court is directed to send a copy of this Order to all counsel of record and

   parties proceeding pro se.


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Case 3:17-cv-00072-NKM-JCH Document 1344 Filed 10/27/21 Page 5 of 5 Pageid#: 22257



                       27th day of October 2021.
         Entered this _____




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